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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      Case No. 3:06cr00268 (PCD)
                                            :
BENIGNO MALAVE                              :

                                ORDER TO SHOW CAUSE

       The Defendant, Benigno Malave, moves for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense in accordance with 18 USC 3582 [Doc. No. 1433] and for

Hearing on this Motion [Doc. No. 1434].

       It is hereby ORDERED that the Government show cause on or before March 5, 2010, as

to why Defendant’s sentence should not be reduced and as to whether a hearing is necessary.

       SO ORDERED.

                                           Dated at New Haven, Connecticut, February 4 , 2010.


                                                                   /s/
                                                            Peter C. Dorsey, U.S. District Judge
                                                                    United States District Court
